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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

UNITED STATES OF AMERICA                      §
                                              §
v.                                            §            Crim. Action No. 3:22-CR-00378-N
                                              §
RAYNALDO RIVERA ORTIZ, JR (1)                 §

                                 PRETRIAL ORDER

        1.    This case is set for trial on this Court’s one-week docket beginning

December 12, 2022. Any potential conflicts must be called to the attention of the Court

in writing within ten (10) days from the date of this Order. The parties shall comply with

the Federal Rules of Criminal Procedure and the Local Criminal Rules of this Court

except as expressly modified by this Order.

        2.    The government shall provide full discovery to each defendant in

accordance with Rule 16(a), Fed. R. Crim. P. thirty-five (35) days before trial, and each

defendant shall provide full discovery to the Government twenty-eight (28) days before

the trial in accordance with Rule 16(b).

        3.    The Government shall in accordance with Brady v. Maryland, 373 U. S. 83

(1963), provide each defendant with all of the exculpatory evidence it possesses

concerning that defendant thirty-five (35) days before trial.

        4.    The Government shall provide each defendant with all Jencks Act material

(18 U.S.C. § 3500) on the day prior to the testimony of the witness to whom such

material relates. The defendant shall do likewise.

        5.    All pretrial motions shall be filed twenty-one (21) days before trial and

they must comply with Local Rule 47.1.

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         6.       The Government’s response to the pretrial motions shall be filed fourteen

(14) days before trial and any reply by the defendant(s) shall be filed ten days (10)

before trial.

         7.       The Government’s pretrial material shall be filed ten days (10) before

trial.        The defendant’s pretrial material shall be filed seven (7) days before trial.

Specifically, pretrial material shall include:

         a.       A list of witnesses shall be filed by each party– which divides the persons

listed into groups of “probable witnesses,” “Possible witnesses,” “experts” and “record

custodians”; which states name and address of each witness; and which contains a brief

narrative summary of the testimony to be covered by each witness. (Modification of

Local Rule 16.1(b)).

         b.       A list of exhibits and designations of portions of depositions. All

documentary exhibits offered by the Government shall be submitted on CD at the

conclusion of the trial.

         c.       Requested jury instructions and motions in limine and any proposed voir

dire questions which the court is requested to ask during its examination of the jury and

proposed findings in non-jury cases.

         8.       A final pretrial conference in this case is set for December 9, 2022, at

10:00 a.m. Lead counsel must attend the pretrial conference. All pretrial motions will be

heard and resolved at that time and procedures for trial will be discussed.              The

defendant(s) need not be present at the pretrial conference in a jury trial. Jury selection



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will begin the following week; bench trials will begin immediately following the pretrial

conference.

      9.      Counsel should direct any questions regarding this Order to Carla Moore,

Court Coordinator, at 214-753-2706.



      Signed October 21, 2022.




                                                        David C. Godbey
                                                 Chief United States District Judge




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